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                            Exhibit 16
                  Declaration of Eden Shemuelian
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  From: Chancellor Gene D. Block <                            >
  Date: Wed, May 1, 2024 at 2:16 PM
  Subject: Condemning Violence in our Community
  To: <                                >

  Dear Bruin Community:

  Late last night, a group of instigators came to Royce Quad to forcefully attack the
  encampment that has been established there to advocate for Palestinian rights. Physical
  violence ensued, and our campus requested support from external law enforcement
  agencies to help end this appalling assault, quell the fighting and protect our
  community.

  However one feels about the encampment, this attack on our students, faculty and
  community members was utterly unacceptable. It has shaken our campus to its core and
  — adding to other abhorrent incidents that we have witnessed and that have circulated
  on social media over the past several days — further damaged our community’s sense
  of security

  I want to express my sincere sympathy to those who were injured last night, and to all
  those who have been harmed or have feared for their safety in recent days. No one at
  this university should have to encounter such violence. Our student affairs team has
  been reaching out to affected individuals and groups to offer support and connections
  to health and mental health resources.

  I also want to acknowledge the trauma and heartache this has brought to our full
  campus. Resources are available to students through the Student Affairs website and
  Counseling & Psychological Services, and to employees through the Staff & Faculty
  Counseling Center.

  We are still gathering information about the attack on the encampment last night, and I
  can assure you that we will conduct a thorough investigation that may lead to arrests,
  expulsions and dismissals. We are also carefully examining our own security processes in
  light of recent events. To help in these efforts, I urge those who have experienced
  violence to report what they encountered to UCPD, and those who have faced
  discrimination to contact the Civil Rights Office. We are grateful for the support of law
  enforcement and their efforts to investigate these incidents.

  This is a dark chapter in our campus’s history. We will restore a safe learning
  environment at UCLA.




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